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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
                       Plaintiff,                §
                                                 §
VS.                                              §        Criminal No. 3:08-CR-267-D (2)
                                                 §
LAZARO FERNANDO RODRIGUEZ,                       §
                                                 §
                       Defendant.                §

                                    MEMORANDUM OPINION

       Defendant Lazaro Fernando Rodriguez (“Rodriguez”) moves under 18 U.S.C. § 3582(c)(2)

for a reduction of his sentence based on Amendment 782 to the United States Sentencing Guidelines.

For the reasons that follow, the court denies the motion.

       When considering a § 3582(c)(2) motion, the court must first determine whether the

defendant is eligible for a reduction under U.S.S.G. § 1B1.10. Dillon v. United States, 560 U.S. 817,

826 (2010). If he is eligible, the court must then “consider any applicable [18 U.S.C.] § 3553(a)

factors and determine whether, in its discretion,” any reduction is warranted under the particular

facts of the case. Id. at 827. The court is under no obligation to reduce the defendant’s sentence.

United States v. Evans, 587 F.3d 667, 673 & 673 n.9 (5th Cir. 2009) (citing United States v.

Doublin, 572 F.3d 235, 238 (5th Cir. 2009) (per curiam)). And because the court is not obligated

to reduce the sentence at all, it does not have to reduce it further than it did within the recalculated

guidelines range. See id. at 673.

       It is undisputed that Rodriguez is eligible for a sentence reduction. He is serving a sentence

that is based on a sentencing range that has been subsequently lowered by the United States

Sentencing Commission through an amendment listed in U.S.S.G. § 1B1.10(d). The government
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maintains, however, that Rodriguez has an infraction during his incarceration; he was a trusted

member of the drug organization in that he lived in the stash house and protected extremely large

quantities of cocaine (more than 150 kilograms) and drug proceeds (millions of dollars in cash); and,

to the government’s knowledge, he continues to deny responsibility for all of his actions in this

extremely large-scale drug trafficking conspiracy. The government contends that Rodriguez’s

sentence of 292 months—which also falls within the new, lower advisory guideline range—should

not be reduced further. Rodriguez has not replied to the government’s opposition response, which

was filed May 4, 2016.

       Having considered the applicable § 3553(a) factors and the government’s contentions, the

court concludes in its discretion that defendant’s motion should be denied and that his sentence

should not be reduced.

       Accordingly, Rodriguez’s December 1, 2014 motion to reduce sentence is denied.

       SO ORDERED.

       August 11, 2016.



                                              _________________________________
                                              SIDNEY A. FITZWATER
                                              UNITED STATES DISTRICT JUDGE




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